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                                               April 28, 2022


VIA ELECTRONIC FILING
The Honorable Leonard P. Stark
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, NW
Washington, D.C. 20439

           Re: OI European Group B.V. v. Bolivarian Republic of Venezuela, Misc. No. 19-290-
           LPS (D. Del.)
               Northrop Grumman Ship Systems, Inc. v. The Ministry of Defense of the Republic
           of Venezuela, Misc. No. 20-257-LPS (D. Del.)
               ACL1 Investments Ltd., et al. v. Bolivarian Republic of Venezuela, Misc. No. 21-
           46-LPS (D. Del.)
               Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela, Misc. No. 21-481-LPS
           (D. Del.)

Dear Judge Stark:

        Pursuant to D. Del. L.R. 7.1.2(b), we write on behalf of Petróleos de Venezuela, S.A.
(“PDVSA”) to submit supplemental authority relevant to the pending attachment motions and mo-
tions to dismiss in the above-referenced actions. See Misc. No. 19-mc-290-LPS, D.I. 48, D.I. 49,
D.I. 64, D.I. 65; Misc. No. 20-257-LPS, D.I. 25, D.I. 26, D.I. 31, D.I. 32; Misc. No. 21-49-LPS,
D.I. 2, D.I. 3, D.I. 21, D.I. 22, D.I. 32; Misc. No. 21-481-LPS, D.I. 2, D.I. 4-1. 1

         Plaintiffs are judgment creditors of the Bolivarian Republic of Venezuela (the “Republic”)
and seek writs of attachment against PDVSA’s shares of PDV Holding, Inc. (“PDVH”) on the
theory that PDVSA is the Republic’s alter ego and, therefore, PDVSA’s property is available to
satisfy the debts of the Republic. PDVSA has moved to dismiss and opposed the attachment mo-
tions on the grounds that, inter alia: (i) the Court lacks subject matter jurisdiction under the FSIA
because plaintiffs cannot establish that PDVSA is the alter ego of the Republic under First Nat’l
City Bank v. Banco Para El Comercio Exterior de Cuba, 462 U.S. 611 (1983) (“Bancec”); and (ii)
plaintiffs cannot prove their entitlement to a writ of attachment under Delaware law, applicable by
virtue of Fed. R. Civ. P. 69(a). See Misc. No. 19-290-LPS, D.I. 65 at 8-29, 31-35; Misc. No. 20-

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  PDVSA understands that the Court is still considering its requests to certify the Court’s March
2, 2022 Order in Misc. No. 19-290-LPS, Misc. No. 20-257-LPS, and Misc. No. 21-46-LPS for
interlocutory appeal and to dismiss without prejudice the attachment motions filed in those cases.
PDVSA submits this letter and supplemental authority for purposes of preservation, without prej-
udice to its pending requests for certification and dismissal, and while expressly preserving all of
its rights and defenses, including its right to sovereign immunity under the Foreign Sovereign
Immunities Act (“FSIA”).
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257-LPS, D.I. 32 at 10-26, 29-33; Misc. No. 21-46-LPS, D.I. 22 at 10-30, 33-35, D.I. 32 at 1-7. 2

        On April 21, 2022, the U.S. Supreme Court issued its decision in Cassirer v. Thyssen-
Bornemisza Collection Foundation, No. 20-1566, 2022 U.S. LEXIS 2097 (U.S. Apr. 21, 2022),
which confirms that the attachment motions must be denied. In Cassirer, California-based heirs
of a woman who fled the Nazis brought state-law property causes of action against a Spanish
museum, seeking the return of their ancestor’s artwork. Id. at *6-8. The Spanish museum was
deemed subject to suit under the FSIA. Id. at *8-9. The issue presented was whether the choice-
of-law regime applicable to the dispute was the one derived from federal common law or California
state law. Id. at *9. Following federal common law choice-of-law principles would result in Span-
ish substantive law applying to the dispute, barring the heirs’ recovery, whereas applying Califor-
nia’s choice-of-law regime would result in California substantive law applying to the merits, likely
permitting the heirs’ action to move forward. See id. at *9-10. The Ninth Circuit applied federal
common law, and the Supreme Court reversed. Id. at *10.

         The Supreme Court answered the question presented by applying Section 1606 of the
FSIA, which dictates that once a foreign sovereign entity is deemed subject to suit, it “shall be
liable in the same manner and to the same extent as a private individual under like circumstances.”
Id. at *11. The Court concluded that this mandate required application of the state law choice-
of-law principles to the parties’ dispute, just as it would in a similar dispute between private parties,
because “[t]hat is the only way to ensure—as Section 1606 demands—that the Foundation, alt-
hough a Spanish instrumentality, will be liable in the same way as a private party.” Cassirer,
2022 U.S. LEXIS 2097 at *13. The Court cited Bancec for the proposition that “when a foreign
state is not immune from suit, it is subject to the same rules of liability as a private party. Which
is just to say that the substantive law applying to the latter also applies to the former.” Id. at *11
(citing Bancec, 462 U.S. at 622 n.11).

         The same logic applies to the pending attachment motions: If the Court were to conclude
that it has subject matter jurisdiction over PDVSA under the FSIA (which is heavily disputed),
Rule 69(a)(1)—which has the force of a statute 3—requires application of state law (here, Delaware

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  PDVSA has not yet responded to Rusoro’s attachment motion, which was filed on February 9,
2022. On April 15, 2022, PDVSA filed a motion to intervene and to stay briefing, which remains
sub judice. Misc. No. 21-481-LPS, D.I. 14. However, because the arguments made in support
of Rusoro’s attachment motion mirror those made by plaintiffs in the other above-referenced cases,
the supplemental authority referenced in this letter applies with equal force to the Rusoro proceed-
ing.
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  E.g., Winston & Strawn, LLP v. McLean, 843 F.3d 503, 506 (D.C. Cir. 2016) (“The Federal
Rules are ‘as binding as any statute duly enacted by Congress, and federal courts have no more
discretion to disregard the ... mandate [of a Federal Rule] than they do to disregard constitutional
or statutory provisions.’” (quoting Bank of Nova Scotia v. United States, 487 U.S. 250, 255
(1988))).
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law), not federal common law, to judgment enforcement proceedings, just as it would in an en-
forcement action involving a private party. To hold otherwise and apply federal common law to
ascertain the substantive propriety of an attachment that requires piercing the corporate veil—i.e.,
the Bancec standard as interpreted by this Court and the Third Circuit in Crystallex—simply be-
cause PDVSA is a foreign sovereign instrumentality would be to “create[] a mismatch” between
the outcome of an attachment proceeding involving a private party and that of a similar proceeding
involving a foreign sovereign. Cassirer, 2022 U.S. LEXIS 2097 at *14. Indeed, as in Cassirer,
application of state law versus federal common law might affect the outcome of the judgment
enforcement proceeding, because Delaware law permits the attachment of stock held by a judg-
ment debtor’s putative alter ego only if the debtor used the alter ego to perpetrate fraud or similar
injustice, whereas this Court and the Third Circuit held in Crystallex that fraud is not required to
pierce the corporate veil of an instrumentality of a foreign state. Compare Harrison v. Soroof Int’l,
Inc., 320 F. Supp. 3d 602, 614 (D. Del. 2018) (“In addition to the requirement that the two com-
panies operate as a single entity,” to pierce the corporate veil under an alter ego theory, “Delaware
law also requires that the corporate structure cause fraud or similar injustice”) with Crystallex Int’l
Corp. v. Bolivarian Republic of Venezuela, 932 F.3d 126, 143 (3d Cir. 2019) (“Bancec does not
require a connection between a sovereign’s extensive control of its instrumentality and the plain-
tiff’s injury. Control alone, if sufficiently extensive, is an adequate basis to disregard an instru-
mentality’s separate status.”). 4 Simply, the logic of Cassirer is that courts cannot apply federal
common law in defiance of a statutory command to apply state law merely because a foreign sov-
ereign is a party. That logic applies in the Rule 69(a)(1) judgment enforcement context as much
as any other.

       Accordingly, if the Court determines that PDVSA is not entitled to immunity under the
FSIA, PDVSA must be treated “just as a private party would be.” Cassirer, 2022 U.S. LEXIS
2097 at *16. This means that Delaware law must be applied to determine whether a writ of at-
tachment can be validly issued, just as Delaware law would be applied if the owner of the PDVH
shares were a private company and not a company owned by a foreign sovereign.

                                               Respectfully submitted,

                                               /s/ Samuel T. Hirzel, II

                                               Samuel T. Hirzel, II (#4415)

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  Separately, Cassirer calls into question this Court’s and the Third Circuit’s interpretation of
Bancec in Crystallex. The “control alone” alter ego test announced by this Court and affirmed by
the Third Circuit in Crystallex is undeniably a less stringent one than the traditional alter ego test
applicable to private parties under the common law, which requires, in addition to extensive con-
trol, an abuse of the corporate form resulting in injury to the plaintiff. Thus, under Bancec, as
interpreted in Crystallex, a foreign sovereign-owned corporation is entitled to lesser protection
than a private corporation. That outcome is irreconcilable with Section 1606 of the FSIA, Cassi-
rer and Bancec.
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cc: All Counsel of Record (Via E-Filing)
